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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              SPARTANBURG DIVISION

 COVINGTON SPECIALTY INSURANCE                    )
 COMPANY,                                         )
                                                  )
        Plaintiff,                                )
                                                  )
 v.                                               )    Case No. 7:21-cv-02785-TMC
                                                  )
 CLAUDE L. JOHNSON and LIMPAC,                    )
 LLC,                                             )
                                                  )
                                                  )
                                                  )
                                                  )
        Defendants.                               )

           PLAINTIFF COVINGTON SPECIALTY INSURANCE COMPANY’S
                   VOLUNTARY DISMISSAL OF DEFENDANTS

       Pursuant to the Federal Rule of Civil Procedure, Rule 41(a)(1)(i), Plaintiff Covington

Specialty Insurance Company (“Covington”) voluntarily dismiss Defendants Claude L. Johnson

and Limpac, LLC from this action, without prejudice. This voluntary dismissal ends this action.

       Plaintiff affirms Defendants Claude L. Johnson and Limpac, LLC have not answered the

Complaint or otherwise responded in this action prior to the date of this filing.

                                              HALL BOOTH SMITH, P.C.

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